Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3162 Page 1 of 6
Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3163 Page 2 of 6
Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3164 Page 3 of 6
Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3165 Page 4 of 6
Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3166 Page 5 of 6
Case 2:11-cr-02079-WFN   ECF No. 862   filed 11/14/12   PageID.3167 Page 6 of 6
